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                          UNITED STATES DISTRICT COURT FOR
                                                           THE
                                 DISTRICT OF NEW JERSEY

     VENADIUM LLC,

                   Plaintiff,

           y.
                                                          No. 2:17-cv-7305-MCA-MAH
     CAMPMOR, INC.,

                   Defendant.


                      ORDER GRANTING STIPULATION OF DISM
                                                         1SSAL
          in accordance with the parties’ Stipulation of Dism
                                                              issal under Federal Rule of Civil
    Procedure 41(a)(1)(A)(ii), this Court ORDERS
                                                 , ADJUDGES, and DECREES that Plaintiff
    Venadium LLC’s claims against Defendant Carn
                                                 pmor, Inc., are DISMISSED WITH
    PREJUDICE, and Defendant’s counterclaims
                                             against Plaintiff are DISMISSED WITHOU
                                                                                    T
    PREJUDiCE.

          Each party shall bear its own attorneys’ fees,
                                                         costs, and expenses.
          All relief not previously granted is DENIED
                                                      AS MOOT.
